         Case
   AO 106A (08/18) 5:24-mj-00530-DUTY
                   Application for a Warrant by TelephoneDocument
                                                         or Other Reliable 1      Filed
                                                                           Electronic     12/20/24
                                                                                      Means          Page 1 of 16 Page ID #:1


                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Central District
                                                            __________ Districtofof
                                                                                  California
                                                                                    __________

                     In the Matter of the Search of                          )       Case No. 5:24-mj-00530
             (Briefly describe the property to be searched or identify the   )
                             person by name and address)                     )
                                                                             )
         United States Postal Service Priority Mail parcel                   )
         bearing tracking number 9534 6131 8228 4337                         )
           5186 16, and currently in the custody of the                      )
              USPIS in San Bernardino, California                            )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                       property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                             Offense Description
          21 U.S.C. §§ 841(a)(1), 843(b), and 846                                       See attached affidavit


             The application is based on these facts:
                   See attached Affidavit
                       Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                    ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     Applicant’s signature

                                                                                         U.S. Postal Inspector, Anthony H. Jacobs
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                     Judge’s signature

City and state: Riverside, CA                                                    Honorable Shashi H. Kewalramani, U.S. Magistrate Judge
                                                                                                     Printed name and title

AUSA: Mitchell M. Suliman (951-276-6026)
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                                 AFFIDAVIT

      I, Anthony Herrera Jacobs, being duly sworn, declare and

state as follows:

                          I. PURPOSE OF AFFIDAVIT

      1.    This affidavit is made in support of an application

for a search warrant for a United States Postal Service (“USPS”)

Priority Mail parcel bearing tracking number 9534 6131 8228 4337

5186 16 (“SUBJECT PARCEL”) in the custody of the United States

Postal Inspection Service (“USPIS”) in San Bernardino,

California, within the Central District of California, as

described more fully in Attachment A.

      2.    The requested search warrant seeks authorization to

seize evidence, fruits, and instrumentalities of violations of

21 U.S.C. §§ 841(a)(1) (distribution and possession with intent

to distribute a controlled substance), 846 (conspiracy to

distribute or possess with intent to distribute a controlled

substance), and 843(b) (unlawful use of a communication

facility, including the mails, to facilitate the distribution of

a controlled substance) (the “SUBJECT OFFENSES”), as described

more fully in Attachment B. Attachments A and B are incorporated
by reference herein.

      3.    The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all my knowledge of or investigation
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into this matter.     Unless specifically noted otherwise, all

conversations and statements described in this affidavit are

provided in substance and in part only.

                      II. TRAINING AND EXPERIENCE

      4.    I am a United States Postal Inspector with the USPIS

and have been so employed since August 2003. I am currently

assigned to the USPIS Los Angeles Division, Narcotics Team and

Parcel Task Force, which is responsible for investigating drug

trafficking organizations that use parcels to distribute illegal

narcotics and/or narcotics proceeds.

      5.    As part of my law enforcement duties, I have conducted

over 150 parcel investigations that have resulted in the arrest

of individuals who have received and distributed controlled

substances, as well as the seizure of 750 parcels containing

approximately 105 kilograms of fentanyl, 140 kilograms of

cocaine, 620 kilograms of methamphetamine, 12 pounds of heroin,

and five gallons of PCP.      I have written over 240 search

warrants on parcels and residences resulting in currency

seizures of over $3 million dollars in drug proceeds.               I have

used cooperating defendants in purchases of controlled buys in

furtherance of federal cases.          Many of these federal cases

involved the search and seizure of digital devices during the

investigations.

      6.    I have completed a 12-week Postal Inspector basic

training course, which included training on how to investigate

narcotics trafficking via the United States Mail.               I also have




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completed an advanced training course designed for training

investigators concerning narcotics mailers and shippers.

                    III. SUMMARY OF PROBABLE CAUSE

      7.    I am conducting a drug trafficking investigation, and

I learned of a package being sent to Massachusetts.             I contacted

United States Postal Inspector Brian Bukuras from the Boston

field office.    Inspector Burkuras received the package, and he

told me that the package had characteristics common to packages

with drugs.    On December 16, 2024, I received the SUBJECT PARCEL

at the San Bernardino Post Office from Inspector Burkuras

because it met certain criteria common to packages containing

contraband.    I believe that the SUBJECT PARCEL contains

controlled substances or the proceeds from the trafficking of

controlled substances because a drug-detection canine alerted to

the presence of a controlled substance after sniffing the

SUBJECT PARCEL.     Additionally, the SUBJECT PARCEL had features

that are common of parcels containing contraband.             Specifically,

the SUBJECT PARCEL is a USPS Priority Mail parcel without a

business account number and the names of the sender and

recipient did not appear in law enforcement databases as

associated with the listed addresses according to law

enforcement databases.

                    IV. STATEMENT OF PROBABLE CAUSE

      A.    Background on Use of Mails for Drug Trafficking

      8.    Based on my training and experience as a Postal

Inspector, and the experiences shared with me by fellow Postal




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Inspectors who specialize in drug investigations, I know the

following:

            a.   Postal Inspectors have been conducting

investigations into drug trafficking via USPS Express Mail and

Priority Mail since the mid-1980s.          In the early 1990s, Postal

Inspectors in Los Angeles, California, and surrounding regions

such as the High Desert/Low Desert areas that include Riverside

and San Bernardino Counties, began conducting organized

interdictions of Priority Mail Express and Priority Mail parcels

suspected of containing controlled substances and proceeds from

the sale of controlled substances.          Postal Inspectors also

regularly examined and investigated Priority Mail Express and

Priority Mail parcels.      During the 1990s, Postal Inspectors

observed that the trend was for drug traffickers to send

controlled substances and proceeds from the sale of controlled

substances, in the form of cash, using boxes.

            b.   Although Postal Inspectors still see the use of

boxes for controlled substances and cash, there has been a

gradual change over the years toward the current trend of using

smaller boxes, flat cardboard envelopes, and Tyvek envelopes,

with proceeds from the sale of controlled substances converted

to money orders.     By using money orders, drug traffickers are

able to send large dollar amounts in compact form, using much

smaller conveyances, which lend a sense of legitimacy to the

parcel.

            c.   The San Bernardino County and Riverside County

areas (collectively, the “Inland Empire”) are a significant



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source area for controlled substances.          Controlled substances

are frequently transported from the Inland Empire area via the

United States Mail, and the proceeds from the sale of controlled

substances are frequently returned to the Inland Empire area via

the United States Mail.      These proceeds are generally in the

form of money orders, bank checks, or similar monetary

instruments in an amount over $1,000.         Based on my training and

experience, I know that proceeds from the sale of controlled

substances often contain the odor of controlled substances

because they have been contaminated with or associated with the

odor of one or more controlled substances.

             d.   Drug traffickers often use one of two USPS

services: Priority Mail Express, which is the USPS

overnight/next day delivery mail product, or Priority Mail

Service, which is the USPS two-to-three-day delivery mail

product.     Drug traffickers use the Priority Mail Express

delivery service because of its speed, reliability, and the

ability to track the article’s progress to the intended delivery

point.     Drug traffickers use the Priority Mail delivery service

because it allows drug traffickers more time for travel between

states if they decide to follow a shipment to its destination

for distribution.     Also, by adding delivery confirmation to a

Priority Mail parcel, drug traffickers have the ability to track

the article’s progress to the intended delivery point, as if the

parcel had been mailed using the Priority Mail Express Service.

      9.     Based on my training and experience, and the

collective experiences shared with me by fellow Postal



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Inspectors who specialize in investigations involving the

mailing of controlled substances and proceeds from the sale of

controlled substances, I know that the following indicia suggest

that a parcel may contain drugs or drug trafficking proceeds:

            a.   The parcel is contained in a box, flat cardboard

mailer, or Tyvek envelope.

            b.   The parcel bears a handwritten label, whether

USPS Priority Mail Express or Priority Mail.

            c.   The handwritten label on the parcel does not

contain a business account number.

            d.   The seams of the parcel are all taped or glued

shut.

            e.   The parcel emits a particular odor of a cleaning

agent or adhesive or spray foam that can be detected by a human;

and

            f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations.

      10.   Parcels exhibiting some of these characteristics are

the subject of further investigation, which may include

verification of the addressee and return addresses and

examination by a trained drug detection dog.

      11.   I know from my experience and training that drug

traffickers often use fictitious or incomplete names and/or

addresses in an effort to conceal their identities from law

enforcement officers investigating these types of cases and

suspicious parcels.       Indeed, it is my experience that to the

extent real addresses are ever used it is only to lend a



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legitimate appearance to the parcel and is almost always paired

with a false name.

      B.    Initial Investigation of the SUBJECT PARCEL

      12.   Beginning in September 2024 until the present, I

identified two suspects for mailing fentanyl and heroin from the

city of Riverside to other parts of the country.            On December 4,

2024, during a traffic stop and subsequent search warrant at

their residence, agents seized 84 kilos of cocaine, 24 kilos of

fentanyl, 7 kilos of methamphetamine and two kilos of heroin.

During the interview, the suspects admitted to mailing over 20

parcels to different states around the country at the direction

of Mexico.    After a review of a suspect’s phone, agents found a

destination address.      Agents then checked postal business

records, which indicated that the SUBJECT PARCEL was recently

mailed and located in Massachusetts.

      13.   On December 13, 2024, I spoke with Postal Inspector

Bukuras.    I told him that the SUBJECT PARCEL is related to an

investigation I am conducting out of Riverside, California.

Postal Inspector Bukuras located the parcel at the Roxbury,

Massachusetts post office.      According to Postal Inspector

Bukuras, it had been returned as having an insufficient address.

Inspector Bukuras intercepted the parcel and sent it to me.

      14.   On December 16, 2024, I received the SUBJECT PARCEL

and I saw it met some of the above-mentioned indicia for the

identification of parcels containing drugs or drug trafficking

proceeds.    Specifically, the SUBJECT PARCEL was mailed using

USPS Priority Mail and did not contain a business account



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number.     In addition, I used CLEAR, a law enforcement and open-

source database, to look up the return and recipient addresses

listed on the SUBJECT PARCEL and determined the following: 1

             a.   The SUBJECT PARCEL is a USPS Priority Mail parcel

with tracking label number 9534 6131 8228 4337 5186 16, weighing

approximately three pounds 3 ounces, with a return address of

“8872 Conway Dr Riverside CA 92503 951 519 7801 Oliver Johnson.”

According to CLEAR database records, the return address listed

on the SUBJECT PARCEL appears to be a legitimate address, but is

not associated with the listed sender, “Oliver Johnson.” The

recipient address listed for the SUBJECT PARCEL, “37 Forest St

APT. 1 Roxbury MA 02119-3363 Noah Johnson”, appears to be a

legitimate address, but is not associated with the listed

recipient, “Noah Johnson.”

      C.     Drug-Detection Dog Alerts to the SUBJECT PARCEL

      15.    According to my conversations with Riverside Police

Department Officer David Bee, I learned the following:

             a.   On December 17, 2024, based on the suspicious

characteristics of the SUBJECT PARCEL, Officer David Bee had his

trained narcotics detection dog, Kilo, examine the exterior of

the SUBJECT PARCEL.

             b.   To examine the SUBJECT PARCEL, USPIS personnel

placed it in an area where Officer Bee could perform a canine

sniff with Kilo.     The SUBJECT PARCEL was concealed in a locker




      1Spelling and capitalization are reproduced herein as on
the SUBJECT PARCEL.

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 among many other lockers and other post office supplies used as

 blanks.

             c.   Kilo gave a positive alert to the exterior of the

 locker where the SUBJECT PARCEL was located, indicating the

 presence of controlled substances or other items, such as the

 proceeds of controlled substances, which have been recently

 contaminated with the odor of controlled substances.

       16.   Attached to my affidavit as Exhibit 1, and

 incorporated by reference, is a true and correct copy of Officer

 Bee’s declaration describing Kilo’s training and history in

 detecting controlled substances and the alert on the SUBJECT

 PARCEL.

                               V. CONCLUSION

       17.   For the reasons set forth in this affidavit, there is

 probable cause to believe that the SUBJECT PARCEL, as described

 in Attachment A, contain evidence, fruits, and instrumentalities

 of violations of the SUBJECT OFFENSES, as described in

 Attachment B.


 Attested to by the applicant in
 accordance with the requirements of
 Fed. R. Crim. P. 4.1 by telephone
 on this __th day of December 2024.



 THE HONORABLE SHASHI H. KEWALRAMANI
 UNITED STATES MAGISTRATE JUDGE




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                                ATTACHMENT A

 PARCEL TO BE SEARCHED

       The following United States Postal Service (“USPS”)

 Priority Mail parcel, (the “SUBJECT PARCEL”), seized on December

 13, 2024, at the Roxbury Post Office located in Roxbury,

 Massachusetts, and currently in United States Postal Inspection

 Service in San Bernardino, California custody:

             a.   The SUBJECT PARCEL is a USPS Priority Mail parcel

 weighing approximately three pounds 3 ounces, with a return

 address of “8872 Conway Dr Riverside CA 92503 951 519 7801

 Oliver Johnson.”     The recipient address listed for the SUBJECT

 PARCEL, “37 Forest St APT. 1 Roxbury MA 02119-3363 Noah

 Johnson”.

             b.   The SUBJECT PARCEL bears tracking number 9534

 6131 8228 4337 5186 16.




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                                ATTACHMENT B

 ITEMS TO BE SEIZED

       The following are to be seized from the parcel described in

 Attachment A, which constitute evidence, fruits, and

 instrumentalities of violations of Title 21, United States Code,

 Sections 841(a)(1) (distribution of, and possession with intent

 to distribute, a controlled substance); 846 (conspiracy to

 distribute, or possess with intent to distribute, a controlled

 substance); and 843(b) (unlawful use of a communication

 facility, including the mails, to facilitate the distribution of

 a controlled substance):

             a.   Any controlled substances, including marijuana;

             b.   Currency, money orders, bank checks, or similar

 monetary instruments in quantities over $1,000; and

             c.   Parcel wrappings used to conceal items described

 in (a) and/or (b).




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                             Exhibit 1
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                                DECLARATION

       I, Detective David Bee, being duly sworn, declare and

 state: I am a sworn peace officer within the meaning of

 California Penal Code § 830.1.

                          TRAINING AND EXPERIENCE

       I am a Task Force Officer (“TFO”) with the United States

 Postal Inspection Service (“USPIS”) and have been so since

 February 2024.     I am currently assigned to the United States

 Postal Inspection Service (“USPIS”) Los Angeles Division, which

 is responsible for investigating drug trafficking organizations

 that use parcels to distribute illegal narcotics and/or

 narcotics proceeds through the United States Mail.

       I attended a three-day training course in February 2024

 with USPIS which included training on how to investigate

 narcotics trafficking via the United States Mail.               I have worked

 closely with USPIS Inspectors since January 2023 and have

 conducted parcel investigations which have resulted in the

 arrest of individuals who have received and distributed

 controlled substances.


       Concurrent with my assignment as a TFO with the USPIS, I

 serve as a full-time sworn law enforcement officer with the

 Riverside Police Department.          I have been a sworn officer since

 January 2008.    I was promoted to detective in August 2019 and

 assigned to the Narcotics Unit where I currently work.                I

 frequently investigate illicit drug manufacturing,
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 transportation and trafficking, sales, and other drug-related

 violations.    I have attended schools for narcotics

 investigations, including a two-week Narcotics Investigations

 Course.    I have made hundreds of narcotics-related arrests which

 were successfully prosecuted.         I routinely work with

 confidential informants, have purchased illicit drugs in an

 undercover capacity, and have testified as a drug expert in

 Riverside Superior Court.

     NARCOTICS K9 TEAM DETECTIVE BEE AND K9 KILO’S TRAINING AND
                           CERTIFICATIONS

       In December 2022, I attended a five-week K-9 handler’s

 course taught by Man-K9 Inc. in San Diego, California.               At the

 conclusion of the course, K-9 “Kilo” (a three-year-old Belgian

 Malinois) and I were certified as a drug detection K-9 team

 through Man-K9 Inc. and the State of California’s Commission on

 Peace Officer Standards and Training (“P.O.S.T.”).              K-9 Kilo is

 trained to detect odors of the following controlled substances:

 methamphetamine, cocaine, heroin, and fentanyl. In July 2024, I

 transferred training progams to Vohne Liche Kennels-West for

 continued maintenance.      K-9 Kilo’s reliability and proficiency

 are tested on a bi-weekly basis by Vohne Liche Kennels-West in a

 controlled environment.      Certifications are conducted annually

 and K-9 Kilo’s most recent certification was on December 11,

 2024 through International Police Canine Association.               All of
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 K-9 Kilo’s certifications and training are conducted using real

 contraband that has been tested and confirmed.            K-9 Kilo and I

 train approximately 20 hours a month in the area of narcotics

 detection.

       On December 17, 2024,USPIS Inspector Jacobs requested K-9

 Kilo’s assistance in a narcotics parcel investigation.              At

 approximately 10:30 a.m. the same day, I met with Inspector

 Jacobs at the USPIS office located at 390 W. 5th St. in San

 Bernardino, California.      K-9 Kilo conducted a sniff of the

 parcel while it was concealed in a locker among many other

 lockers and other post office supplies used as blanks.              K-9 Kilo

 gave a positive alert to the exterior of the locker where the

 SUBJECT PARCEL was located, indicating the presence of an odor

 he is trained to detect.      The parcel is further described below:

       United States Postal Service parcel bearing tracking number

 9534 6131 8228 4337 5186 16




 ____________________________


 Detective David Bee

 Riverside Police Department

 USPIS TFO
